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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                                NORTHERN DISTRICT OF CALIFORNIA

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                                         AMAZON.COM, INC.,
                                  7                                                   Case No. 20-cv-07405-PJH
                                                      Plaintiff,
                                  8                                                   ORDER ADOPTING MAGISTRATE
                                                v.                                    JUDGE’S REPORT AND
                                  9                                                   RECOMMENDATION
                                         EXPERT TECH ROGERS PVT. LTD., et
                                  10     al.,                                         Re: Dkt. No. 52

                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13         The court has reviewed Magistrate Judge Corley’s Report and Recommendation

                                  14   Re: plaintiff’s unopposed motion for default judgment. No objections to the report have

                                  15   been filed. The court finds the report correct, well-reasoned and thorough, and adopts it

                                  16   in every respect. Accordingly, the motion is GRANTED.

                                  17         IT IS SO ORDERED.

                                  18   Dated: October 20, 2021

                                  19                                              /s/ Phyllis J. Hamilton
                                                                                  PHYLLIS J. HAMILTON
                                  20                                              United States District Judge
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